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                                               December 3, 2013



           Via ECF and Hand Delivery

           The Honorable Samuel Conti
           United States District Court                   REDACTED VERSION OF DOCUMENT
           Northern District of California                SOUGHT TO BE SEALED
           Courtroom No. 1, 17th Floor
           450 Golden Gate Avenue
           San Francisco, CA 94102

           In re: Cathode Ray Tube (CRT) Antitrust Litigation, No. 3:07-cv-05944,
           No. 3:13-cv-1174


           Dear Judge Conti:

                   After Sharp1 filed its opt-out lawsuit in March of 2013, it reviewed the existing
           discovery record, and propounded narrow, tailored Interrogatories on the defendants.
           The Interrogatories sought information uniquely relevant to Sharp’s claims for purchases
           of color picture tubes (“CPTs”) in the United States. The Toshiba and Panasonic



                 1
                  Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of
                 America, Inc.
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Defendants2 have refused to respond to these Interrogatories. They have instead merely
referred Sharp to their responses to different interrogatories seeking much less refined
information. The Toshiba and Panasonic Defendants maintain that the discovery rules
obligate Sharp to figure out the answer to its separate, narrower question on its own.
They are wrong. Sharp therefore seeks an order pursuant to Rule 37 of the Federal Rules
of Civil Procedure and Local Rule 37 compelling the Toshiba and Panasonic Defendants
to respond to Sharp’s Interrogatories.3

                                     I. BACKGROUND

        The Toshiba and Panasonic defendants have been in these CRT lawsuits for more
than six years. One of their primary defenses in the case is that any arguably
anticompetitive conduct had no impact in the United States. (Expert Report of Robert D.
Willig, Dec. 17, 2012, Ex. A to the Declaration of Craig A. Benson (“Benson Decl.”) at
27-28 (“Conduct Directed at CRT Prices Outside the United States Need Not Have
Elevated CRT Market Prices in the United States”).)

       The Direct Purchaser Plaintiffs class propounded interrogatories over three years
ago, asking defendants to identify all actual or proposed agreements between CRT
producers relating to CRT prices, production, or inventory levels (Interrogatory 4), and
any meetings or communications between CRT producers regarding CRT prices, terms
or conditions or sale, profits or market share, production levels (Interrogatory 5). Direct
Purchaser Plaintiffs First Set of Interrogatories, Ex. B to Benson Decl.




   2
    The Toshiba Defendants are Toshiba Corporation, Toshiba America Electronic
   Components, Inc., Toshiba America Information Systems, Inc., and Toshiba America
   Electronic Components, Inc. The Panasonic Defendants are Panasonic Corp. of
   North America, MT Picture Display Co., Ltd., and Panasonic Corporation.
   3
     Sharp files this letter brief in lieu of a motion pursuant to this Court’s instruction to
   follow the same procedures in place for discovery disputes that were utilized before
   Judge Legge.
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        Sharp filed this opt-out lawsuit in March 2013. Unlike many of the plaintiffs in
the MDL, Sharp’s claims overwhelmingly relate to purchases in the United States of
CPTs from defendants (instead of finished CRT product purchases). Consistent with its
obligations as an opt-out plaintiff under the discovery protocol, Sharp reviewed the
existing discovery record to learn the state of the record before propounding discovery.
Thereafter, it issued non-duplicative Interrogatories, seeking from defendants information
on two narrow questions. Sharp asked defendants to identify communications and
meetings between CRT manufacturers regarding the sales, production, and/or prices of
CPTs:

          “in and/or for the United States, Mexico, and/or Brazil” but excluding “any
           Communications and/or Meetings occurring solely in the context of a
           Customer-supplier relationship,” (Sharp Interrogatory 2, Ex. F to Benson
           Decl.); or

          “where at least one party to the Communication was employed in and/or based
           out of the U.S., Mexico, and/or Brazil.” (Sharp Interrogatory 3, Ex. F to
           Benson Decl.).4

       Instead of responding, the Toshiba and Panasonic Defendants merely referred
Sharp to their previous responses to the admittedly different, broader interrogatory
responses.5 They acknowledge that their descriptions of the communications in those

   4
    Sharp also included a standard interrogatory asking for the identity of anyone who
   participating in answering the interrogatory. (Sharp Interrogatory 1, Ex. F to Benson
   Decl.) Toshiba refused to answer even this standard question. (Ex. G to Benson
   Decl. at 6.)
   5
    Toshiba filed four separate responses for each of four Toshiba defendants. (See Exs.
   G-J to Benson Decl.) Toshiba refused to provide any information in response to
   Sharp’s Interrogatories. (E.g., Toshiba Corp. Responses, Ex. G to Benson Decl. at 7.)
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interrogatory responses lack detail sufficient to make this determination on their own, and
that it is necessary to review the actual documents.6 (Exs. L, N, O to Benson Decl.)
They assert that, even though the Toshiba and Panasonic Defendants had been in the case
for six years and had lived with this evidence since then, Sharp was in as advantageous a
position as they were to identify which documents and communications were responsive
to Sharp’s Interrogatories.

        In meet and confers, Sharp sought to understand whether either Toshiba or
Panasonic had done any work since they responded to these interrogatories that would
enable the defendants to answer Sharp’s Interrogatories without having to conduct an
entirely independent review of underlying documents or meeting descriptions (which
Sharp would have to do). This would include, for instance, if Toshiba or Panasonic had
created indices of, coding for, or translations of, documents based on their prior review.
Toshiba refused to respond. (Exs. L & N to Benson Decl.) Panasonic responded that it
did have work product relating to the meetings and communications, including English
language translations of some documents. Nonetheless, Panasonic asserts that “Sharp is
now in at least as good a position as Panasonic to review the documents and to identify”
which materials are responsive to Sharp’s specific interrogatories.7 (Ex. P to Benson
Decl. at 1.)

                                      II. ARGUMENT

       A.      Legal Standard

        The Toshiba and Panasonic Defendants’ responses are inadequate. Answers to
interrogatories should be complete on their own and should be clear that they have been
answered completely without detailed comparison of answers in other interrogatories. 7
Moore’s Federal Practice § 33.103 (Matthew Bender 3d Ed.); DCFS USA, LLC v. District
of Columbia, 803 F. Supp. 2d 29, 35-36 (D.D.C. 2011). A party responding to
interrogatories cannot generally refer to other discovery, especially if the receiving party




6
    Moreover, the Toshiba Defendants’ responses to the DPP Interrogatories include two
    lists: one a list of Bates numbers of documents, and one a list of meetings and
    communications. Toshiba confirmed that the list of documents is unrelated to the
    separate list of meetings.
7
    Sharp also has contacted the Direct Purchaser Plaintiffs in attempts to obtain
    materials from that plaintiff class that would be helpful in evaluating the Toshiba and
    Panasonic Defendants’ responses, but to date the Direct Purchaser Plaintiffs have not
    provided any such materials or information to Sharp. (Benson Decl. ¶ 3.)
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cannot determine if the interrogatory has been answered completely by referring to
previous discovery. 7 Moore’s Federal Practice § 33.103.

        Nor can a responding party require the receiving party to “rummage” through
other discovery materials in order to find its answer. Mulero-Abreu v. Puerto Rico Police
Dept., 675 F.3d 88, 93 (1st Cir. 2012); see also Harlem River Consumers Co-op v. Assoc.
Grocers of Harlem, Inc., 64 F.R.D. 459, 463 (S.D.N.Y. 1974) (“A broad statement that
the information sought is available from a mass of documents and that the documents are
available for inspection simply is not a sufficient response to satisfy the aims of
discovery.”).

        Finally, a party responding to an interrogatory cannot create an unequal burden
for the receiving party by producing a “mass of records” capable of deciphering only by
the producing party. Sadofsky v. Fiesta Prods., 252 F.R.D. 143, 148 (E.D.N.Y. 2008).
Even reference to a small number of documents can be unduly burdensome on the
receiving party when the contents of the documents are not clear to the receiving party.
Id. And the burden in responding to a discovery request is not equal, as between the
receiving and responding party, where the answer is either readily available to the
producing party or ascertainable without much labor, or where the producing party would
need to do the work itself anyhow to prepare its own case. 7 Moore’s Federal Practice
§ 33.103; 8B Wright, Miller & Marcus, Federal Practice and Procedure § 2174.

       B.   Toshiba’s and Panasonic’s Previous Responses are Inadequate to
            Provide Sharp the Information it Seeks, and the Burden is Not Equal
            on Sharp To Identify That Information

       The Panasonic and Toshiba Defendants lose under these standards.

        First, the information provided by Panasonic and Toshiba in their DPP
Interrogatory responses is insufficient for Sharp to determine which communications are
responsive to its Interrogatories.




       Panasonic’s responses are even less helpful:
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        Second, there is no question that the burden to identify responsive
communications would be greater for Sharp than it would be for Panasonic or Toshiba.
In order to learn which communications are responsive to its requests, Sharp would need
to review each of the thousands of documents the Defendants identified, and each of the
thousands of meetings the Defendants identified, to identify whether the Defendants’
prior responses are responsive to Sharp’s Interrogatories. This is all the more
burdensome on Sharp since both Panasonic and Toshiba have acknowledged that not all
meeting descriptions are substantiated by or matched up with disclosed documents. For
those descriptions, Sharp would have to review the entire discovery record. Moreover,
over 1,000 documents identified by Panasonic are in a foreign language, as are many by
Toshiba, of which English language translations do not exist for over 500 of these
documents. In order to meaningfully review them, Sharp would need to commission
translations of these several hundred documents.

         Panasonic and Toshiba, however, have lived with these documents for many
years. They have already reviewed them. Panasonic acknowledges that it has English
language translations of documents disclosed in its response. It also acknowledges that it
has work product related to its review of those documents, in connection with its
preparation of its defense in this case. (Toshiba has refused even to acknowledge this.)
In order to justify their position, Toshiba and Panasonic must show that they cannot
respond to Sharp’s Interrogatories with minimal labor and that they would not need to
engage in the exercise otherwise in preparation for their case. See Fagan v. District of
Columbia, 136 F.R.D. 5, 7 (D.D.C. 1991) (granting plaintiffs’ motion to compel
interrogatory responses when responding required defendants to cull files and tabulate
information that was “accessible in defendants’ files”); In re Folding Carton Antitrust
Litig., 83 F.R.D. 256, 259 (N.D. Ill. 1979) (granting plaintiff’s motion to compel
defendant’s answers to interrogatories because, in part, it was information the defendant
“would gather in the preparation of its own case”); PHE, Inc. v. Dep’t of Justice, 139
F.R.D. 249, 257 (D.D.C. 1991) (granting motion to compel responses to interrogatories
where “with little effort” the responding party could “retrieve the necessary and
appropriate information”). Especially given Toshiba’s and Panasonic’s defense that the
conspiracy did not impact the United States, it simply is not plausible that they cannot
answer Sharp’s U.S.-focused Interrogatories with minimal effort, or have not already
done this work in preparing their own cases.
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                                  III. CONCLUSION

        Sharp respectfully requests that the Court order the Toshiba and Panasonic
defendants to respond fully to Sharp’s First Set of Interrogatories, including that Toshiba
and Panasonic must separately respond to Sharp’s First Set of Interrogatories independent
of references to their responses to other discovery in this action.



                                          Very truly yours,

                                          /s/ Craig A. Benson

                                          Craig A. Benson

Attachments
